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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

DAKOTA RESOURCE COUNCIL, et                   )
al.                                           )
                                              )
Plaintiffs,                                   )
                                              )     Case No. 1:22-cv-1853
vs.                                           )
                                              )
U.S. DEPARTMENT OF THE                        )
INTERIOR, et al.                              )

 Defendants.
__________________________________________________________________

               THE STATE OF NORTH DAKOTA’S
       MOTION TO INTERVENE AS DEFENDANT-INTERVENOR
______________________________________________________________________________

      The State of North Dakota (“North Dakota”) submits this motion to intervene

as a defendant-intervenor pursuant to Federal Rule of Civil Procedure 24(a)(2) and

Local Rule 7(j) of this Court. North Dakota respectfully requests that the Court grant

North Dakota’s motion to intervene as a defendant-intervenor as of right pursuant to

Fed. R. Civ. P. 24(a)(2), or alternatively for permissive intervention under Fed. R.

Civ. P. 24(b)(1)(B).

      In accordance with Local Rule 7(m), undersigned counsel for prospective

Intervener-Defendant North Dakota has conferred with counsel for Plaintiffs and

Counsel for Defendants. Plaintiffs take no position on North Dakota’s motion to




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intervene. Federal Defendants take no position at the time of this filing but reserve

the opportunity to respond to North Dakota’s motion to intervene.

      In support of the relief requested herein, North Dakota is concurrently

submitting the attached memorandum in support of this motion, setting forth the

basis for its intervention.

      Respectfully submitted this 22 day of July 2022,

                                             DREW H. WRIGLEY
                                             ATTORNEY GENERAL
                                             STATE OF NORTH DAKOTA

                                             /s/ Paul M. Seby
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                                             COUNSEL FOR APPLICANT IN
                                             INTERVENTION STATE OF
                                             NORTH DAKOTA




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 22 day of July 2022, a true and

correct copy of the foregoing was filed with the Clerk of the Court using the

CM/ECF system, which will send notification of this filing to the attorneys of record.


                                        /s/ Paul M. Seby




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